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                   CERTIFICATE OF CORPORATE RESOLUTION OF

                          1018 Morris Park Ave. Realty Inc.
     The undersigned, President of 1018 Morris Park Ave. Realty Inc. (the “President”), a
New York corporation (the "Company"), hereby certifies as follows:

1.     The following resolution was duly and unanimously adopted by a majority of the
       directors of the Company at a meeting duly called and held on 5/30/17 , at which a
       quorum of the directors was present and acting throughout the meeting, and said
       resolutions have not been amended and are in full force and effect:

               RESOLVED, that it is in the best judgment of the Board Of Directors that the
               Company commence a voluntary chapter 11 proceeding for reorganize its business
               and economic affairs. It is further

               RESOLVED, that the Company is authorized to open a debtor in possession bank
               account and take all other steps necessary to ensure that it fully complies with
               applicable state and federal in connection with its bankruptcy case. It is further

               RESOLVED, that the Company is authorized to retain Ortiz & Ortiz LLP as its
               bankruptcy counsel, and retain any other professionals necessary to prosecute its
               bankruptcy case.

2.     Appearing below are the names of the persons authorized by the foregoing resolution to
       act on behalf of the Company, and appearing opposite their names are their positions and
       specimens of their true and correct signatures:

       Name                          Position        Signature

       Manuel B. Vidal               Officer        S/Manuel B. Vidal

       Denise Vidal                  Officer        S/Denise Vidal

       Lourdes Vidal                 Officer        S/Lourdes Vidal


IN WITNESS WHEREOF, I have executed this certificate on the 30th day of May 2017. I swear
that the foregoing is accurate and true.

                                                            S/ Manuel B. Vidal
                                                            Secretary/President
